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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                    Chapter 11
    BOY SCOUTS OF AMERICA AND                                 Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                              (Jointly Administered)
                              Debtors.
                                                              Re: Docket No. 11617


       ORDER GRANTING MOTION TO SET EXPEDITED HEARING DATE AND
      SHORTEN NOTICE PERIOD WITH RESPECT TO MOTION TO AUTHORIZE
          REVOCATION OF EXPEDITED DISTRIBUTION ELECTIONS ON
         THE GROUNDS OF MISTAKE, INADVERTENCE AND INJUSTICE

         Upon the Motion to Set Expedited Hearing Date and Shorten Notice Period With Respect

to Motion to Authorize Revocation of Expedited Distribution Elections on the Grounds of Mistake,

Inadvertence and Injustice (the “Motion to Shorten”) requesting that the notice period for the filed

Motion to Authorize Revocation of Expedited Distribution Elections on the Grounds of Mistake,

Inadvertence and Injustice [Docket No. 11599] (the “Motion to Authorize”) be shortened pursuant

to Rules 2002 and 9006 of the Federal Rules of Bankruptcy Procedure, Section 105(a) of the

Bankruptcy Code, and Rules 2002-1(b) and 9006-1(e) of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware; it appearing

that the relief requested in the Motion to Shorten is appropriate under the circumstances; due and

proper notice of the Motion to Shorten having been provided under the circumstances, and it

appearing that no other or further notice need be provided; after due deliberation; and sufficient

cause appearing therefor, it is hereby




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  The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 West Walnut Hill Lane, Irving, Texas 75038.



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       ORDERED THAT:

       1.      The Motion to Shorten is GRANTED as set forth herein.

       2.      A hearing on the Motion to Authorize shall be held on November 20, 2023 at 10:00

a.m. (ET).

       3.      Objections and other responses to the Motion to Authorize shall be filed by no later

than November 20, 2023 at 10:00 a.m. (ET).

       4.      This Court shall retain jurisdiction with respect to all matters arising under or

related to this Order and to interpret, implement, and enforce the provisions of this Order.




      Dated: November 15th, 2023                     LAURIE SELBER SILVERSTEIN
      Wilmington, Delaware                           UNITED STATES BANKRUPTCY JUDGE

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